AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed_R. Civ, P, 4()

This summons and the attached co NOCH for (name of individual and title, if any):

LAs)

were received by me on (date) Lo-\ -L)

§C I personally served the summons and attached complaint on the individual at (place):

WIT NSM Ace (Ua fee —\
on (date) LOMMN=23 sor 10 EP

(1) I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)
_, a person of suitable age and discretion who resides there,
on (date) —____, and mailed a copy to the individual’s last known address; or

(J I served the summons and the attached complaint on (name of individual)

who is designated by law to accept service of process on behalf of (name of organization) _

on (date) 3 or
1) Other (specify):
Myfeesare$ —s_s for travel and $ _______ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: (O-1-23 a GA

Server's signature

Yeux Hew

Printed name and title

USPs 2Y6U fern Spey

Server's address

Additional information regarding attempted service, etc.:

CaS eB SSO BBBHL Feed HOABH3 Pegg Slot 2 DeMuTRenta-8
